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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on March 13, 2025

UNITED STATES OF AMERICA : CASE NO. 1:25-mj-00089-MJS
v.
EMILY GABRIELLA SOMMER, : VIOLATIONS:

18 U.S.C. § 111(a)(1)
(Assaulting, Resisting, or Impeding
Certain Officers or Employees)
Defendant.
INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about May 8, 2025, within the District of Columbia, EMILY GABRIELLA
SOMMER, did forcibly assault, resist, oppose, impede, intimidate, and interfere with any person
designated in 18 U.S.C. § 1114, to wit: Edward R. Martin, who was engaged in, and on account
of, his official duties.
(Assaulting, Resisting, or Impeding Certain Officers or Employees), in violation of

Title 18, United States Code, Section 111(a)(1))

JEANNINE FERRIS PIRRO
Attorney of the United States in
and for the District of Columbia

BY: GAURI GOPAL
CHIEF, FEDERAL MAJOR CRIMES FOREPERSON

A TRUE BILL:
